Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 1 of 7 Page ID #147




               Exhibit C
Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 2 of 7 Page ID #148




                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT~ CHANCERY DIVISION

DAVID BARNETT, ETHEL BURR,                         )
AND MICHAEL HENDERSON, on                          )
behalf of themselves and all others                )
similarly situated,                                )
                                                   )
                                                                                EN1
                                                                                                1
                                                                                                    ERED
                                                                               Judge Neil H. Cohen-20 21
                                    Plaintiff-;,   )
                                                   )                                     JAN 04 2022
               v.                                  )   21 CH 3119
                                                                                    IRIS Y. MARTINEZ
                                                   )                            CLERK OF THE CIRCUIT COURT
                                                                                       OF COOK COUNTY, IL
APPLE, INC.,                                       )                          •. Df:P.Urf, CU"P.!!'. ..•- - - ·---·· --·--

                                                   )
                                    Defendant      )

                          CORRECTED MEMORANDUM AND ORDER

        Defendant i\pple. Inc. has filed a Motion 10 Dismiss pursuant to 735 ILCS 5/2-615.

l. Background

        Plaintiffs David Barnett, Ethel Burr. and Michael Henderson, on behalf of themselves
and all other persons similarly situated, have filed a Class Action Complaint (''Complaint") for
violations of the 111.inois Biometric Information Privacy Act ('"BIPX'). 740 ILCS 14/l et seq ..
against Defendant Apple, Inc. (''Apple'').

       The alleged BIPA violations are based upon Plaintiffs· use of either Apple's Touch ID or
Face ID. (Comp!.    i:~
                      76-99). Touch ID is a security feature that Apple developed for ce11ain
iPhones, iPads (tablets), and MacBooks (notcbouk computers) to allow users to unlock their
devices and perform other functions with the touch of a finger where a password would
otherwise be needed. (lg_,_ at,,,; 6, 38-39, 52). Face 1D is another security feature that Apple
developed for ce11ain iPhoncs and iPads to allo\V users to unlock their devices and perform other
functions with a glance rather than entering a passvvord. (1d. at 1111 7, 38-39, 65). The Complaint
contains screenshots showing that the setup of these features is optional. (ld. at ilil 52-53, 65-66).

        Plaintiffs set up their respective Apple devices using either Touch ID or Face l D. (Id. at
i
1•76, 84, 92). Plaintiff<; allege that their respective devices "'translated'' their '·fingerprint"
(Touch ID) or "facial geometry" (Face ID) •'into a unique mathematical representation" '·stored
locally" on their devices. (Id. at ,~78. 86. 94 ). Plaintiffs further allege that when they use Touch
ID or Face 1D to unlock their devices. the device generates another such "mathematical
representation·· that it ··compares" against the one "previously stored" on the device during the
setup process. (lei. at   ,r,110.
                               87. 95).

        Plaintiffs allege that when they set up Touch ID or Face ID on their devices: ( l) they
\Vere not informed of the specific purpose and length of time a user's biometric identifier
Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 3 of 7 Page ID #149




or information is being collected or stored: and (2) Apple did not obtain a written release from
them. (Id. at ~1~48-49; 61-62 ). Plaintiffs further allege that Apple failed to make a written
retention schedule for destroying a user·s biometrics publicly available. (ld. at ~1~!47. 60).

       Count I of the Complaint asserts a claim for violation of§ 15(a) of Bl PA, 740 ILCS
14/!S(a). Count II asserts a claim for violation of~ I 5(b) of BIPA, 740 ILCS 14/lS(b).

IL Motion to Dismiss

         Apple is moving to dismiss the Complaint pursuant to 735 ILCS 5/2-615. "A section 2-
615 motion to dismiss challenges the legal sufficiency of the complaint. Yoon Ja Kim v. Jh
Song. 2016 lL App (1st) 150614-B. ':41. ··such a motion does 1101 raise affirmative factual
defenses but alleges only defects on the face of the complaint." l!i. ··All well-pleaded facts and
all reasonable inferences from those facts are taken as true. Where unsupported by allegations of
fact, legal and factual condusions may be disregarded.'' Kagan v. Waldheim Cemeterv Co.,
2016 IL App ( l st) l 31274. ~29. ·'In determining whether the allegations of the complaint are
sufficient to state a cause of action, the court vie,vs the allegations of the complaint in the light
most favorable to the pJaimiff. Unless it is clearly apparent that the plaintiff could prove no set
of facts that would entitle him to relief. a complaint should not be dismissed." l!i.

       In order to maintain a class action. the representative plaintiffs must be able to state
individual causes of action. Landesrnan v. General l'v1otors. Col]J .. 72 Ill. 2d 44, 48 ( 1978);
Jensen v. Baver AG, 3 71 Ill. App. 3d 68:2. 693 ( l" Dist. 2007).

        A. BIPA

        ln passing BIPA. our general assembly found that ···[b]iomctrics *** ,u-c biologically
unique to the individual; therefore, once compromised, the individual has no recourse, is at
heightened risk for identity theff and that ·public welfare, security. and safety \Vil! be served by
regulating the collection. use, safeguarding. handling, storage, retention, and destruction of
biometric identifiers and information.'" Tims v. Black Horse Carriers. Inc., 2021 lL App (1st)
200563, ,24, quoting, 740 I LCS 14/5( c ). (g). As set forth by our supreme court, BlPA:

       imposes numerous restrictions on how priva1e entities collect, retain, disclose, and
       destroy biometric identifiers. including retina or iris scans, fingerprints, voiceprints. scans
       of hand or face geometry. or biometric information. Under the Act, any person
       'aggrieved' by a violation of' its provisions ·shall have a right of action*** against an
       offendirn.i_ partv'
                ~       •  and ·rnav• recover for each \ iolation' the ~·greater of lic1uidated damaoes
                                                                                                    t,




       injunction, that the court deems appropriate.
                                                                         ~                      -
       or actual damages, reasonable attorncv- fees and costs, and anv other relief:. including an


Rosenbach v. Six Flags Enlertainmen1 Corp., 2019 IL 123186, ,i l.




                                                   2
Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 4 of 7 Page ID #150




       Section 14/15 of Bl PA provides in relevant part as follows:

       (a) A private entity in possession of biometric identifiers or biometric information must
       develop a written policy, made available to the public, establishing a retention schedu.le
       and guidelines frlr permanently destroying biometric identifiers and biometric
       information when the initial purpose for collecting or obtaining such identifiers or
       information has been satisfied or ,vi thin 3 years of the individual's last interaction vvith
       the private entity, whichever occurs ti rst. * * *

       (b) No private entity may collect. capture, purchase, receive through trade, or othenvise
       obtain a perscin · s or a customer· s biometric identifier or biometric information, unless it
       first:

               (I) informs the subject or the subjccf s legally authorized representative in \\Titing
               that a biometric identifier or biometric information is being collected or stored;

               (2) informs the subject or the subject's h.~gally authorized representative in writing
               of the specific purpose and length of ierm for \Vhich a biometric identifier or
               biometric information is being collected, stored, and used; and

               (3) receives a written release executed by the subject of the biometric identifier or
               biometric information or the subject's legally authorized representative.

740 lLCS 14/l S(a) and (b).

       B. Count I -Section 15(a) of BfPA

        Plaintiffs contend that Apple violated ~ l 5ta) of BIPA by failing to develop a publicly
available written policy establishing a retention schedule and guidelines for permanently
destroying biometric identifiers and biometric information. Section 15(a), however, applies only
to private entities "in possession .. of biometric identifiers or infrlrmation. 740 ILCS 14/1 S(a).

        B1PA does not define ·'possession.'' ··[U]ndefined terms in a statute shall be given their
ordinary and popularly understood meanings." People v. Ward, 215 Ill. 2d 317, 325 (2005).
Where the legislature does not define a term. the court may look to the dictionary definition.
Rosenbach.2019 IL 123186, if32. '·Possession .. is defined as ··the condition of having or owning
something," "control or occupancy of property without regard to ownership," or "the act of
having or taking into control." Possession. NlERRl:\\1-WEBSTER'S COLLEGIATE DICTIONARY
(11th Ed. 2009). Additionally, the Illinois Supreme Court has found that ···possession: as
ordinarily understood. occurs when a person has or takes control of the subject property or holds
the property at his or her disposal.'' Ward. 215 Ill. 2d at 325 .




                                                  .,
                                                  _)
Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 5 of 7 Page ID #151



       The Complaint does not allege any facts showing that Apple took control of Plaintiffs·
biometric identifiers or information. Rather, PlaimiiTs expressly allege that the biometric
information at issue is stored locally on Plaintiffs· own devices.

         While Plaintiffs argue that Apple ··controls.. the information because Apple designed the
Touch ID and Face ID sofhvare and can update the software, Plaintiffs do not allege any facts
showing that Apple has accessed and obtained colllrol over their biometric information stored
locally on their devices through the so!hvare. Plaintiffs allege the conclusion that Apple is "in
possession .. of their biometric informaiion, but have not alleged any specific facts in support.
Illinois is a fact-pleading jurisdiction. Simpkins v. Csx Transp .. 20 l 2 IL l 10662, ~]26. "A
plaintiff may not rely on conclusions of lmv or fact unsupported by specific factual allegations."
kl
        Plaintiffs contend that they have alleged sufficient facts to show that Apple was ••in
possession" of the biometric information based upon Hazlitt v. Apple. Inc., Case No. 3:20-CV-
421-NJR. 2021 U.S. Dist. LEXIS 110556 (S.f). Ill. June 24, 2021 J, 1 and Zaluda v. Apple, Inc.,
20 I 9-CH-11771 (111. Cir. Ct. of Cook County, OcL 29 2020). Even if these cases \Vere binding
on this court. \Vhich they are not. they are both readily distinguishable.

         In Hazlitt, the plaintiffs alleged that:

         Apple uses its software to create. gather. and harvest faceprints, \Vhich Apple stores in
         facial recognition databases that Apple provided users no knl>\vledge •.Jf or control over,
         and that Apple alone could access the bion1etric data or disable its collection. Users also
         cannot disable the coHection of biometric data, cannot limit \Vhat information is collected
         or from whom information is collected. cannot remove the People folder, and cannot
         delete the database of facial recognition infrmnation that Apple creates or any
         infrm11ation in that database. Finally. Apple only allows users to use Apple Devices on
         the condition that it collects biometric data.

Hazlitt, 2021 U.S. LEX1S l l 0556 at *24.

        The Complaint here does not allege that Apple has stored any of Plaintiffs· biometric data
in Apple databases. Rather, the Complaint clearly alleges that Plaintiffs' biometric data \Vas
voluntarily scanned and stored by Plaintiffs on their O\Vn devices. Nor do Plaintiffs allege that
thev have no control over the data collected and stored on their own devices or that thev cannot
   -                                                                                     -
delete that data. The Complaint is clear that Plaintiffs voluntarily chose to use Face ID and
Touch ID and can delete their biomeLric information from their devices if they. choose. Finallv..,                     .

the Complaint does not allege ,:my facts showing that they cannot use their Appk devices unless
they use Face ID or Touch ID and the Complaint is clear that they cannot allege such facts.
While it may be more convenient to use Face ID or Touch ID, the Complaint is clear that there is
no requirement to do so.



1
 Plaintiffs cited to an earlier decision in Hazliit, 500 F. Supp. 3d 738 (S.D. Ill. 2020), \Vhich was vacated by the
Seventh Circuit In re Apple Inc .. 202 l U.S. App. LEX.IS 18 l 5 I (71" Cir. Jan. 27, 2021 ).

                                                           4
Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 6 of 7 Page ID #152




        In Zaluda. the plaintiffs alleged that their Apple devices generated voiceprints so that Siri
could recognize the voiceprints and that these voiceprints were then sent to Apple's servers and
third parties in violation of Bl PA. The Complaint in this case does not allege that Plaintiffs'
biometric information \Vas sent to /·\pple · s servers ur any third party server. but expri;'!ssly alleges
that the information is stored locally on Plaintiffs· own devices. Hazlitt and Zaluda offer no
support for Plaintiffs' position.

       Because the Complaint fails to allege any facts shO\ving that Apple is. or was ever, ''in
possession·· of Plaintiffs' biometric informal ion, Count l does not allege any violation of~ 15(a)
of BIPA. Furthermore. Plaintiffs do not contend that they can al legc fi:tcts shmving that Apple
accessed the biometric information stored on Plaintiffs. own devices. Therefore. Count I is
dismissed with prejudice.

        C. Count II -Section 15(b)

          Plaintiffs contend that Apple violated~ l 5(b) of BIPA by failing to inform Plaintiffs in
\:\Titing that their information \Vas being collected. failing to inform Plaintiffs of the specific
purpose and length of time for which their biometrics were being collected or stored, and failing
to obtain an executed written release from Plaintiffs. Section l 5tb), however, applies only to
private entities who '"collect capture, purchase. receive through trade, or otherwise obtain a
person's or a customer's biometric identifier or biometric information." 740 ILCS 14/15(b).

        BIPA does not define .. collect" or --capture.·· l\forriam-Webster defines "collect" as:
"to bring together into one body or place'' .. lo gather or exact from a number of persons or
sources." Collect. TV1ERRlA:v!-WEBSTl:::J(s COLLLGL\TL DIC rlONAR Y (11th Ed. 2009). fvlerriam-
Webster defines ··capture" as ·'to record in a permanent file (as in a computer)." C'apture.
MERRJAM-WEBSTER'S COLLEGIATE DICTIONARY l 11 th Ed. 2009).


         Plaintiffs do not allege that their biometric information has been brought together in one
place by Apple or gathered along with that or other Apple users. Nor do PlaintiJJs allege that
Apple has recorded their information on Apple· s servers. The Complaint instead expressly
alleges that Plaintiffs" biometric information is captured by Plaintiffs themselves and stored
locally on Plaintiffs' devices. App k's provision of soJhvare that others. including Plaintiffs,
may use to generate biometric identifiers or information does not constitute the "collection•· or
.. capture" of such identifiers or information under BIPA.

       Plaintiffs also rely on Hazlitt and Zaluda in arguing that they have sufficiently alleged
that Apple collected their biometric daia. As discussed above, Hazlitt and Zaluda offer no
support for Plaintiffs' position.

         Because the Complaint fails to allege any facts showing that Apple "collected"' or
"captured'' Plaintiffs' biometric infr.,rmation. Count II does not a!leuc anv violation of ~15(b) of
                                                                         0     ~              ~


HIP A. Furthermore. Plaintiffs do not contend that they can allege such facts and the Complaint
is clear that the biometric information at issue was collected and/or captured by Plaintiffs
themselves and stored by Plaintiffs on their own devices. Therefore. Count IJ is dismissed \Vith
prejudice.


                                                    5
Case 3:21-cv-01425-SPM Document 28-3 Filed 01/31/22 Page 7 of 7 Page ID #153




       D. i-Vhetlter Plaintiffs Ha1 e Alleged That They are ",4ggrieved''
                                     1




        Apple also contends that the Complaint should be dismissed because Plaintiffs do not
allege they were "aggrieved .. as required by f?0 of BIPA. 740 ILCS 15/20. To satistY this
requirement. a plaintiff must allege facts shuwing that ··a legal right [has been] invaded'' or
a "pecuniary interest L] directly affocted." Rosenbach, 2019 lL 123186. ~[30 (citation omitted).
"[W]hen a private entity fails to comply with one of section 15's requirements, that violation
constitutes an invasion. irnpai rmcnt, or denial of the statutory rights of any person or customer
whose biometric identifier or biometric infr_,rmation is subject to the breach" and such a person
or customer would be '·aggrieved.. under BIPA. ht at ~\33.

        Here, Plaintiffs have not alleged any violation of§ l 5 of BI PA. Therefore, they have not
alleged they are "aggrieved'' under §20. This constitutes another basis for dismissal.

HI. Conclusion

       Apple's Motion to Dismiss is grn.nted, with prejudice. This order is final and appealable.

       The status date   or January 12, 2022 is stricken.

                                               Enter:
                                                        -------------




                                                  6
